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    PAUL McKENNA
 18
 19                      UNITED STATES DISTRICT COURT
 20        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 21
 22 AERIAL WEST, LLC,                        Case No. 2:18-cv-02288-JAK-SS
 23                    Plaintiff,
           v.                                STIPULATION FOR PROTECTIVE
 24                                          ORDER
 25 DRONE WORLD, LLC, STEPHEN                [Filed Concurrently with [Proposed]
    PAUL MCKENNA, and DOES 1-10,             Stipulated Protective Order]
 26 Inclusive,
                Defendant.                   [Discovery Document: Referred to
 27                                          Magistrate Judge Suzanne H. Segal]
 28   AND RELATED COUNTERCLAIM.
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  1         Plaintiff and Counterdefendant Aerial West (“Plaintiff”) and Defendants and
  2 Counterclaimants Drone World, LLC and Stephen Paul McKenna (collectively
  3 “Defendants”), by and through their respective counsel of record, hereby stipulate to
  4 the entry of the attached [Proposed] Stipulated Protective Order. The parties agree
  5 that the action will require the production and disclosure of confidential information
  6 of the respective parties.
  7         Good Cause Statement:
            The plaintiff and defendants are business competitors. Discovery in this
  8
      action will involve sales revenue and profits, customer and pricing lists and other
  9
      valuable research, development, commercial, financial, technical and/or proprietary
 10
      information for which special protection from public disclosure and from use for
 11
      any purpose other than prosecution and defense of this action is warranted. Such
 12
      confidential and proprietary materials and information consist of, among other
 13
      things, confidential business or financial information, information regarding
 14
      confidential business practices, or other confidential research, development, or
 15
      commercial information (including information implicating privacy rights of third
 16
      parties), information otherwise generally unavailable to the public, or which may be
 17 privileged or otherwise protected from disclosure under state or federal statutes,
 18 court rules, case decisions, or common law. Accordingly, to expedite the flow of
 19 information, to facilitate the prompt resolution of disputes over confidentiality of
 20 discovery materials, to adequately protect information the parties are entitled to keep
 21 confidential, to ensure that the parties are permitted reasonable necessary uses of
 22 such material in preparation for and in the conduct of trial, to address their handling
 23 at the end of the litigation, and serve the ends of justice, a protective order for such
 24 information is justified in this matter. It is the intent of the parties that information
 25 will not be designated as confidential for tactical reasons and that nothing be so
 26 designated without a good faith belief that it has been maintained in a confidential,
 27 non-public manner, and there is good cause why it should not be part of the public
 28 record of this case.


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  1           Having met and conferred on the content of the Protective Order, the parties
  2 have substantially adopted the format of the standing protective order adopted by
  3 the Honorable Judge Andrew Guilford in this judicial district. Accordingly, the
  4 content of the proposed protective order has been reviewed and accepted within this
  5 judicial district.
  6
  7 Date: September 18, 2018                  Respectfully submitted,
  8                                           ZUBER LAWLER & DEL DUCA LLP
  9
                                              By:     /s/ Robert W. Dickerson*
 10                                                 Robert W. Dickerson
                                                    Attorneys for Plaintiff and
 11                                                 Counterdefendant,
 12                                                 AERIAL WEST, LLC

 13                                           MANDOUR & ASSOCIATES, APC
 14
 15                                           By:     /s/ Ben T. Lila
                                                    Ben T. Lila
 16                                                 Attorneys for Defendants and
                                                    Counterclaimiants,
 17                                                 DRONE WORLD, LLC AND STEPHEN
                                                    PAUL MCKENNA
 18
 19
 20           *Robert W. Dickerson hereby attests that all signatories listed, and on whose
 21 behalf the filing is submitted, concur in the filing’s content and have authorized the
 22 filing.
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